Case 1:20-cv-23938-CMA Document 33 Entered on FLSD Docket 12/14/2020 Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 20-23938-CIV-ALTONAGA/Goodman

      DANETTE BLANCO,

            Plaintiff,

      v.

      CESAR A. VELILLA M.D., P.A.; et al.,

            Defendants.
      ___________________________________/

                                                  ORDER

           THIS CAUSE came before the Court on the parties’ Joint Motion for Approval of Parties’

  Settlement Agreement and Dismissal with Prejudice [ECF No. 32], filed October 26, 2020. The

  Court has carefully reviewed the Motion, the file, and applicable law. Being fully advised, it is

           ORDERED AND ADJUDGED that the parties’ Joint Motion for Approval of Parties’

  Settlement Agreement and Dismissal with Prejudice [ECF No. 32] is GRANTED. The Court

  retains jurisdiction to enforce the terms of the parties’ Settlement Agreement (see generally Mot.,

  Settlement, Mutual Release and Confidentiality Agreement [ECF No. 32-2]), 1 and to award

  attorney’s fees and costs in connection with such enforcement. The case is DISMISSED with

  prejudice.




  1
   The Agreement contains a confidentiality provision. (See Agreement ¶ 8). Where the Court must approve
  a settlement, the agreement becomes a part of the judicial record, and therefore may not be deemed
  confidential even if the parties so consent. See Jessup v. Luther, 277 F.3d 926, 929–30 (7th Cir. 2002).
  Accordingly, parties may not submit a settlement agreement under seal or seek its review in camera unless
  there is a compelling interest in secrecy. See id. at 928. Nevertheless, while the confidentiality provision
  seems to indicate the parties seek to maintain the Agreement’s confidentiality, the parties did not file the
  Agreement under seal, and so it appears on the public docket.
Case 1:20-cv-23938-CMA Document 33 Entered on FLSD Docket 12/14/2020 Page 2 of 2

                                        CASE NO. 20-23938-CIV-ALTONAGA/Goodman


        DONE AND ORDERED in Miami, Florida, this 14th day of December, 2020.




                                                 CECILIA M. ALTONAGA
                                                 UNITED STATES DISTRICT JUDGE

  cc:   counsel of record




                                          2
